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                  IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII

  ATOOI ALOHA, LLC, an Nevada          )    CIVIL NO. 16-00347 JMS RLP
  Limited Liability Company; CRAIG B. )
  STANLEY, as Trustee for THE          )    SUMMONS
  EDMON KELLER AND                     )
  CLEAVETTE MAE STANLEY                )
  FAMILY TRUST; CRAIG B.               )
  STANLEY, individually; MILLICENT )
  ANDRADE, individually,               )
                                       )
                     Plaintiffs,       )
                                       )
  ABNER GAURINO; AURORA                )
  GAURINO; ABIGAIL GAURINO;            )
  INVESTORS FUNDING                    )
  CORPORATION, as Trustee for an       )
  unrecorded Loan Participation        )
  Agreement dated June 30, 2014; APT- )
  320, LLC, a Hawaii Limited Liability )
  Company; CRISTETA C. OWAN, an )
  individual; ROMMEL GUZMAN;           )
  FIDELITY NATIONAL TITLE &            )
  ESCROW OF HAWAII and DOES 1- )
  100 Inclusive,                       )
                                       )
                     Defendants.       )
  _____________________________ )
                                       )
  APT-320, LLC, a Hawaii Limited       )
  Liability Company                    )
                                       )
               Third Party Plaintiff,  )
                                       )
                                       )
                                       )
                                       )
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  APARTMENT OWNERS OF               )
  DIAMOND HEAD SANDS                )
                                    )
             Third Party Defendant. )
  ______________________________ )
  \summons 3rd.apt

                                      SUMMONS

  STATE OF HAWAII

  To Third Party Defendant:
  APARTMENT OWNERS OF DIAMOND HEAD SANDS

               YOU ARE HEREBY summoned and required to file with the court and

  serve upon Defendant and Third Party Plaintiff APT-320's counsel, William J. Plum,

  700 Bishop Street, Suite 2100, Honolulu, Hawaii, 96813, an Answer to

  DEFENDANT AND THIRD PARTY PLAINTIFF APT-320, LLC’S THIRD PARTY

  COMPLAINT AGAINST ASSOCIATION OF APARTMENT OWNERS OF

  DIAMOND HEAD SANDS within 21 days after service of this summons on you (not

  counting the day you received it) – or 60 days if you are the United States or a United

  States agency, or an officer of employee of the United States described in Fed. R. Civ.

  P. 12(a)(1)(a)(i). If you fail to make an answer within the 21 day limit, judgment by

  default will be taken against you for the relief demanded.

               This Summons shall not be personally delivered between 10:00 p.m. and

  6:00 a.m., on premises not open to the general public, unless a judge of the above-



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  entitled court permits, in writing on this Summons, personal delivery during those

  hours.

                 A failure to obey this summons may result in an entry of default and

  default judgment against the disobeying person or party.

           DATED: Honolulu, Hawaii;              September 27, 2017



                                                 SUEBEITIA  ~~--~~--~~·~~-




                                                CLERK OF THE COURT

                                                 /s/SUE BEITIA by AFC, Deputy Clerk




  Atooi Aloha, LLC, et al. vs. Abner Gaurino, et al.; United States District Court for the District of
  Hawaii; Civil No. 16-00347 JMS RLP; SUMMONS



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